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       Exhibit A
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                                                                    Sheppard, Mullin, Richter & Hampton LLP




                                                                    www.sheppardmullin.com



                                                                     A. Joseph Jay III




February 1, 2024



VIA EMAIL

The Honorable Randolph D. Moss
United States District Court Judge
U.S. District Court for the District of Columbia
333 Constitution Avenue, NW
Washington, D.C. 20001

       Re:     United States v. Sterlingov, Case No. 21-cr-399 (RDM)


Dear Judge Moss:

As you know, we represent Ciphertrace, a wholly owned subsidiary of Mastercard International
Incorporated (“Mastercard”). Defense counsel engaged Ciphertrace as an expert in the matter
of U.S. vs. Sterlingov, 21-cr-399 (RDM). Ciphertrace prepared an expert report (the “Ciphertrace
Report”), and a Ciphertrace employee, Ms. Jonelle Still, testified at a Daubert hearing before the
Court in August 2023.

It recently came to Mastercard’s attention that, contrary to the wording of the Ciphertrace
Report, some of the data relied upon may be unverifiable and unauditable. This issue was
unknown to Ms. Still at the time of the Report and appears to be due to data collection practices
originating prior to Mastercard’s acquisition of Ciphertrace. It also appears that at least some of
the data relied upon in the Ciphertrace Report may have come from other companies, including
Chainalysis. Mastercard has advised defense counsel of this matter and writes to bring it
directly to the Court’s attention.

As soon as Mastercard counsel learned about the potential data issues, Mastercard launched
an expedited, privileged investigation involving internal and outside counsel and an outside
forensics team. This investigation is ongoing, but we have learned enough to conclude that
parts of the Ciphertrace Report are unreliable.

We regret the unavoidable impact of this issue on the Defense, the Government, and, of course,
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this Court – especially with the fast approaching trial date. We stand ready to answer the
Court’s questions.


Respectfully,



A. Joseph Jay III
for SHEPPARD, MULLIN, RICHTER & HAMPTON LLP


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